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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 24-cv-23233

 TUSHBABY, INC.,

         Plaintiff,

    v.

 MOMCOZY MATERNITY ESSENTIAL,
 a Foreign Corporation,

       Defendant.
 ________________________________________/

         PLAINTIFF’S NOTICE OF PENDING, REFILED, OR SIMILAR ACTIONS

         Plaintiff TushBaby, Inc., (“Plaintiff” or “TushBaby”), by and through its undersigned

 counsel and pursuant to S.D. Fla. L.R. 3.8, hereby files this Notice of Pending, Refiled, Related,

 or Similar Actions, and state as follows:

         This action was originally filed in TushBaby, Inc. v. The Corporations, Limited Liability

 Companies, and Unincorporated Associations Identified on Schedule A, Case Number 24-cv-

 20941, pending before Judge Leibowitz. On August 8, 2024, Judge Liebowitz entered an Order

 severing the defendant in this case from that matter, and in doing so, directed Plaintiff to designate

 any case filed against the defendant in this case as a related action “for purposes of Local Rule 3.8

 and Internal Operating Procedure 2.15.00 of the U.S. District Court for the Southern District of

 Florida.”

         Pursuant to this Court’s Local Rules, Internal Operating Procedures and Judge Leibowitz’s

 August 8, 2024, Order, Plaintiff gives notice that this action is related to TushBaby, Inc. v. The

 Corporations, Limited Liability Companies, and Unincorporated Associations Identified on
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 Schedule A, Case Number 24-cv-20941. This case is also related to Case Numbers 24-cv-21136

 and 24-cv-22281, both of which are also pending before Judge Leibowitz.

 Dated: August 26, 2024                     Respectfully submitted,

                                            BOIES SCHILLER FLEXNER LLP


                                            /s/ Marshall Dore Louis
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                                            Attorney for Plaintiff TushBaby, Inc.




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